CaSe 2:05-cr-20291-SH|\/| Document 7 Filed 08/30/05 Page 1 of 2 Page|D 10

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FOR THE WESTERN DlsTRlcT OF TENNESSEE 05 AUG 3
WEsTERN DlvlleN 0

D-C.

UN|TED STATES OF AMERICA,

 

Plaintiff,

v. NO. 05-20291-B/P

]AMES TAYLOR BAN KS,

Defendant.

 

ORDER OF TRANSFER

 

On August 19, 2005, judge Samuel H. Mays, ]r. entered an order transferring
United States of America v. Veronda lackson, No. 05-20070, (as to Defendant Veronda
jackson on|y) to the undersigned in exchange for an equivalent case. The court is
hereby transferring the above-styled case to judge Mays pursuant to the order of transfer.
The parties shall, on all pleadings and correspondence related to this matter, change the
judge's initials in the case number from 05-20291-B/P to 05-20291-Ma/P.

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lt is so 0RDERED this 'So day of Augusr, 2005.

 

1. oANiEL BREEN \
uNi ED sTATEs t)lsTRlcT juDoE

UNITED sTTEs DISTRICT OURT - WESTERN D"RITICT 0 TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20291 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

